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6
      Attorney for Plaintiff

7

8                            UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10

11    DORIAN DANIEL,                     ) Case No. 5:15-cv-01549-VAP-DTB
                                         )
12
             Plaintiff,                  ) NOTICE OF SETTLEMENT
13                                       )
              vs.                        )
14
                                         )
15    SYNCHRONY BANK, INC.; and          )
      DOES 1 through 10, inclusive,      )
16
                                         )
17           Defendant.                  )
      __________________________________ )
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21           NOW COMES THE PLAINTIFF by and through her attorney to respectfully

22    notify this Honorable Court that this case has settled. Plaintiff requests that this
23
      Honorable Court allow sixty (60) days with which to file dispositive documentation. A
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25
      Dismissal will be forthcoming. This Court shall retain jurisdiction over this matter until

26    fully resolved.
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                                          Notice of Settlement - 1
     Case 5:15-cv-01549-VAP-DTB Document 15 Filed 02/08/16 Page 2 of 3 Page ID #:73



1                Respectfully submitted this 8th day of February 2016.
2
                                          By: /s/L. Paul Mankin
3                                             L. Paul Mankin
4
                                              The Law Office of L. Paul Mankin IV
                                              Attorney for Plaintiff
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                                      Notice of Settlement - 2
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1     Filed electronically on this 8th day of February 2016, with:
2
      United States District Court CM/ECF system
3

4
      Notification sent electronically via the Court’s ECF system to:

5     Honorable Virginia A. Philips
6
      United States District Court
      Central District of California
7

8
      Veronica Kuiumdjian, Esq.
      REED SMITH LLP
9     Attorney for Defendant
10
      This 8th day of February 2016
11
      /s/L. Paul Mankin
12
      L. Paul Mankin
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                                          Notice of Settlement - 3
